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Civil Action No. 5:24cv1154

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

This summons for (name of individual and title, if any) Jet Thruster Marine LLC

was received by me on (date) 10/23/2024 7:50am

© I personally served the summons on the individual at (place)

on (date) or

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or
wv served the summons on (name of individual) Don Bank, authorized agent , who is
designated by law to accept service of process on behalf of (name of organization) Jet Thruster Marine LLC

on (date) 10/24/2024 6:42pm ; Or

[ I returned the summons unexecuted because :or

Other (specifi):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: 10/29/2024 Erramcle Whe

Server's signature

Amanda Wiggins - private process server

Printed name and title

130 Inverness Plaza, Ste 500, Birmingham, AL 35242
Server’s address

Additional information regarding attempted service, etc:
